                                    No. 24-1610


  In the United States Court of Appeals
          for the Eighth Circuit
                                    BRYAN MICK,
                                         Plaintiff-Appellee,

                                          v.

                             BARRETT GIBBONS, ET AL.,
                                        Defendant-Appellees,

                             NEBRASKA STATE PATROL,
                                        Third-Party Appellant.


                 On Appeal from the United States District Court
                          for the District of Nebraska
                       The Honorable John M. Gerrard


APPELLEE’S MOTION TO DISMISS PURSUANT TO FED. R. APP. P. 27



      Bryan Mick (“MICK”), Appellee/Plaintiff in the above-captioned matter,

pursuant to FED. R. APP. P. 27, moves this Court to dismiss this appeal for lack of

appellate jurisdiction, showing as follows:




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                                    Introduction

      In this matter, Appellant Nebraska State Patrol (“NSP”) appeals from the

March 13, 2024 Memorandum and Order of the District Court, which affirmed the

Magistrate Judge’s February 7, 2024 Order denying NSP’s motion to quash MICK’s

subpoena duces tecum for a 30(b)(6) deposition. This Court lacks jurisdiction to

review the discovery order denying NSP’s motion to quash. This Court has

jurisdiction over “appeals from all final decisions of the district courts.”1 There can

be no dispute that NSP seeks to appeal an interlocutory discovery order and not a

final judgment, including because NSP failed to request that the District Court direct

entry of final judgment under Federal Rule of Civil Procedure 54(b). To protect

against piecemeal litigation, there are but a few narrow exceptions to the final

judgment rule upon which this Court may exercise jurisdiction. None of those

extraordinary exceptions applies here.

      In particular, this Court does not have jurisdiction pursuant to 28 U.S.C.

§ 1292 for two reasons: because NSP failed to seek a certificate of appealability under

that section and because, even if NSP had done so, the order at issue does not satisfy

§ 1292’s requirement that there is a “substantial ground for difference of opinion”

here. To the contrary, this Court’s binding precedent forecloses the arguments about


      1
          28 U.S.C. § 1291.
                                              2


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sovereign immunity NSP advanced below. Nor has NSP filed a petition for writ of

mandamus or otherwise sought this Court’s review pursuant to 28 U.S.C. § 1651.

      Finally, this Court should not exercise jurisdiction pursuant to the collateral

order doctrine. NSP is not a party to this litigation. NSP’s appeal of a limited

discovery order does not implicate significant public interests. In any event, the

Magistrate Judge’s discovery order and the District Judge’s order affirming it are not

“effectively unreviewable,” because NSP had available alternative routes to review it

deliberately chose not to take.

   A. NSP seeks to appeal a non-final discovery order without Rule 54(b)
      certification.

      Federal Rule of Civil Procedure 54(b) allows a district court to direct entry of

a final judgment as to one or more, but fewer than all, claims or parties “only if the

court expressly determines that there is no just reason for delay.” A party seeking

that special dispensation must request from the trial court a “brief but particularized

statement of its reasons [for acting]”2 in order to demonstrate that Rule 54(b) is

invoked in a proper manner. A bare statement that there is no just reason for delay,

without further explanation, is insufficient.




      2
          FED. R. CIV. P. 54(b).
                                                3


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         In sustaining a motion for entry of judgment under Rule 54(b), a district court

must first determine that it is dealing with a “final judgment”: a “judgment” in the

sense that it is a decision upon a cognizable claim for relief, and “final” in the sense

that it is “an ultimate disposition of an individual claim entered in the course of a

multiple claims action.” Having found finality, the district court must then determine

whether there is any just reason for delay.

         That has not happened in this matter. NSP did not seek a Rule 54(b) final

determination, and the District Court did not provide one. This basis for jurisdiction

fails.

    B. NSP did not request a certificate of appealability of the interlocutory
       discovery orders pursuant to 28 U.S.C. § 1292.

         Under 28 U.S.C. § 1292(b), a district court has discretion to certify in a

written order that “an order not otherwise appealable” both “involves a controlling

question of law as to which there is substantial ground for difference of opinion and

that an immediate appeal from the order may materially advance the ultimate

termination of the litigation.” That same section gives the Court of Appeals

discretion to “permit an appeal to be taken from such order,” so long as the

application for an appeal is made within 10 days of the district court’s certification.

         Pursuant to § 1292(b), an application for permission to appeal must be filed

within 10 days of the entry of the order certifying the appeal. Critically, failure to

                                               4


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file an application for permission to appeal within 10 days after certification is a

jurisdictional defect.3 NSP did not request, and the District Court did not provide,

§ 1292(b) certification for immediate appealability. Thus this basis for jurisdiction

also fails.

       Even if NSP had followed the correct procedure (it did not), the District

Court’s Memorandum and Order affirming the Magistrate Judge’s denial of NSP’s

discovery motion does not satisfy the requirements for certification under § 1292(b).

There cannot be a “substantial ground for difference of opinion” here, where this

Court’s controlling precedent expressly forecloses the Eleventh Amendment

arguments NSP made below and that the Magistrate Judge and District Court easily

rejected. It is well-established in this Circuit that a state’s sovereign immunity does

not categorically bar discovery against a non-party state entity.4                 Only under

extraordinarily limited circumstances does the Eleventh Amendment bars third-

party discovery against a state entity, when that discovery “infringes” on its




       3
          See 16 Wright, Miller & Cooper, Fed. Prac. & Proc. § 3929 at 376-77 and n. 39; see also Fed. R.
App. 5 (appeal by permission); Consul General of the Republic of Indonesia v. Bill’s Rentals, Inc., 251
F.3d 718, 720 (8th Cir. 2001); Kassuekle v. Alliant Techsystems, Inc., 223 F.3d 929 (8th Cir. 2000) ( and
Hanson v. Hunt Oil Co., 488 F.2d 70, 72 (8th Cir. 1979) (“The failure to file an application for leave to
appeal within the statutory ten days is a jurisdictional defect under § 1292(b), and we conclude that the
Court is without jurisdiction to hear the instant appeal under this statutory provision.”).
        4
           See In re Missouri Dep’t of Nat. Res. (“Missouri DNR”), 105 F.3d 434, 436 (8th Cir. 1997)
(“There is simply no authority for the proposition that the Eleventh Amendment shields government
entities from discovery in federal court.”).
                                                   5


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“autonomy or threatens its treasury5.” Here, both the Magistrate Judge and the

District Court found that neither interest applies.             Those decisions on the

management of discovery are “committed to the sound discretion of the trial court.”6

   C. This Court does not have jurisdiction under 28 U.S.C. § 1651.

       This Court occasionally exercises jurisdiction under 28 U.S.C. § 1651 to

consider state agencies’ petitions for writs of mandamus to prohibit lower courts from

enforcing discovery orders requiring them to respond to third-party subpoenas.7 As

this Court explained in In re Missouri Department of Corrections, “discovery orders

are not ordinarily appealable” but “mandamus may issue in extraordinary

circumstances, where discovery would be oppressive and interfere with important

state interests.”8 Mandamus is an “extraordinary remedy” that is available only to

correct a “clear abuse of discretion.”9 To obtain this extraordinary remedy, the

petitioning party must “satisfy two prerequisites”: that the “entitlement to the writ”




       5
          Id.
       6
          Id.
        7
          See, e.g., Missouri DNR, 105 F.3d at 435 (considering and denying Missouri Department of
Natural Resources’ petition for writ of mandamus to vacate order denying motion to quash third-party
subpoenas duces tecum); In re Missouri Dep’t of Corrs., 839 F.3d 732 (8th Cir. 2016) (en banc)
(considering Missouri Department of Corrections’ petition for writ of mandamus to prevent enforcement
of third-party subpoenas for documents and a Rule 30(b)(6) deposition).
        8
          In re Missouri Dep’t of Corrs., 839 F.3d at 735 (citation omitted).
        9
          Cheney v. U.S. Distr. Ct. for D.C., 542 U.S. 367, 380 (2004).
                                                 6


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is “clear and indisputable” and that the party has “no other adequate means to attain

the relief” it seeks.10

       Fatal to this basis for jurisdiction, however, NSP has not filed a petition for

writ of mandamus or otherwise sought this Court’s review on an extraordinary writ

pursuant to 28 U.S.C. § 1651, unlike either the Missouri Department of Natural

Resources in Missouri DNR and unlike the Missouri Department of Corrections in

In re Missouri Dep’t of Corrections.          Instead, NSP seeks through interlocutory

review of a discovery order, in a non-mandamus case, in the goal of overturning

twenty-year-old precedent arising from a petition for a writ of mandamus.

   D. The collateral order doctrine does not apply.

       The only remaining possible basis for appellate jurisdiction is “the narrow,

judicially created collateral order doctrine.”11 Under this doctrine, “final decisions”

includes a “small class of rulings, not concluding the litigation, but conclusively

resolving claims of right separable from, and collateral to, rights asserted in the

action.”12 “That small category includes only decisions [1] that are conclusive, [2]

that resolve important questions separate from the merits, and [3] that are effectively



       10
          In re Missouri Dep’t of Corrs., 839 at 735 (citation omitted); see also McGraw-Edison Co. v.
Van Pelt, 350 F.2d 361, 363 (8th Cir. 1965) (recognizing “manifest judicial arbitrariness” as basis for
granting writ of mandamus).
       11
          Great Rivers Coop. v. Farmland Indus., Inc., 198 F.3d 685, 687-88 (8th Cir. 1999).
       12
          Will v. Hallock, 546 U.S. 345, 349 (2006).
                                                  7


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unreviewable on appeal from the final judgment in the underlying action.”13 The

discovery orders NSP challenges are not immediately appealable under the collateral

order doctrine because NSP is not a party to the litigation, because the question NSP

presents cannot be separated from the broader litigation, because discovery orders

are not generally treated as immediately appealable under this doctrine, and because

NSP has other options available to challenge the orders.

      1) NSP is a non-party challenging a discovery order

      An order denying a claim of sovereign immunity can be subject to

interlocutory appeal under the collateral order doctrine.14            But in this non-

mandamus action, NSP is not a party, nor is the State of Nebraska. That fact

matters.

      Charleston Waterkeeper v. Frontier Logistics, L.P.15, was an environmental

tort case in which the plaintiffs sought injunctive relief. During discovery, the

plaintiffs served a subpoena on the South Carolina Ports Authority, a nonparty and

state agency, commanding it to produce documents. The Ports Authority moved to

quash the subpoena, based on its assertion of sovereign immunity. When the district

court denied its motion, ruling that “the doctrine of state sovereign immunity does



      13
         Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 106 (2009).
      14
         See P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 141 (1993).
      15
         Charleston Waterkeeper v. Frontier Logistics, L.P., 2020 WL 7335408 (D.S.C. 2020).
                                                8


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not preclude a court from enforcing the subpoena against the Ports Authority or any

of its employees,” the Ports Authority appealed to the United States Court of

Appeals for the Fourth Circuit. At the same time, the Ports Authority moved the

district court to stay proceedings there pending disposition of its appeal.16

       The United States District Court for the District of South Carolina denied the

Ports Authority’s Motion to stay. It noted the critical distinction between the Port

Authority’s appeal as a nonparty facing a discovery request versus sovereign

immunity-based appeals in which the party seeking a stay is a defendant facing

liability:

       The stakes of the Ports Authority's sovereign immunity appeal are
       considerably lower. The Ports Authority is a nonparty who only faces
       compliance with a subpoena. There is no danger here, as there was in []
       the qualified immunity cases, that the Ports Authority will wrongly be
       forced to defend itself at trial or face a legally erroneous judgment.
       Instead, the Ports Authority's appeal will determine whether it must
       produce certain documents, a far cry from the dangers the defendants
       faced in the cases on which the Ports Authority relies.17

The court further observed that in the cases where the party seeking a stay was a

defendant facing liability,

       there was no doubt that the issue of sovereign immunity was triggered
       by the filing of a suit against the sovereign. Here, conversely, the Ports
       Authority faces a third-party subpoena, not a lawsuit, and the court has
       already found that the subpoena does not constitute a “suit against the
       sovereign” and thus does not threaten sovereign immunity. [T]he
       16
             Id. at *2.
       17
             Id. at *3.
                                              9


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       subpoena served upon the Ports Authority “does not implicate
       significant federalism concerns.”18

       The Charleston Waterkeeper court applied that same reasoning to its

determination that the Ports Authority did not have a likelihood of success on the

merits that would support a stay of proceedings.            Emphasizing that the Ports

Authority faced “a subpoena, not a lawsuit,” the court wrote that “whatever minor

federalism concerns that are implicated here by compelling the Ports Authority to

comply with a federal third-party subpoena pale in comparison to those that arise

from outright suits against the sovereign.”19 The district court denied the Ports

Authority’s motion to stay, and the parties stipulated to dismiss its appeal before the

United States Court of Appeals for the Fourth Circuit could reach the merits of the

Ports Authority’s sovereign immunity appeal.20

       While the Charleston Waterkeeper case comes from a district court in a different

circuit, its reasoning fits the procedural posture of this appeal. NSP is a nonparty state

agency, appealing a discovery order requiring it to respond to a deposition subpoena.21 NSP

faces “a subpoena, not a lawsuit.” The federalism concerns that have underpinned its



       18
          Id.
       19
          Id. (citing Dugan v. Rank, 372 U.S. 609, 620 (1963).
       20
          South Carolina Ports Authority v. Charleston Waterkeeper, 2021 WL 11569784 (4th
Cir. 2021).
       21
          NSP has already complied with a subpoena for documents in this case without
complaint. See Affidavit of Maren Lynn Chaloupka, Exhibit C.
                                                10


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objection to the deposition subpoena are not the same thing as “outright suits against the

sovereign.” There is no danger that NSP will “wrongly be forced to defend itself at trial or

face a legally erroneous judgment.”22 Indeed, further undermining NSP’s assertion that it

is immune from responding to nonparty discovery requests, the agency has previously

complied with a subpoena for documents without complaint.23

       2) NSP’s appeal cannot be considered apart from the course of the underlying
          litigation

       When considering whether the collateral order doctrine applies, courts take

into account the extent to which the non-final order raises “important questions

separate from the merits.” To that end, NSP's nonparty status does not ipso facto

mean that this controversy can be separated from the “larger context which includes

the main case.”24 To the contrary, NSP possesses information that MICK needs to

prosecute this significant civil rights case.

       There has already been significant discovery in this matter. MICK has served

multiple subpoenas for documents – including to NSP, and NSP responded without

complaint25 – and has taken seven depositions to date, with more to come, in order


       22
           Charleston Waterkeeper v. Frontier Logistics, L.P., 2020 WL 7335408 at *3.
       23
           See Affidavit of Maren Lynn Chaloupka, Exhibit C.
        24
           A-Mark Auction Galleries, Inc. v. Am. Numismatic Ass’n, 233 F.3d 895 (5th Cir. 2000)
(rejecting application of collateral order doctrine to order granting motion to compel against
nonparty because “[i]t is clear to us that the issues relating to the discovery order [the nonparty]
complains of must be examined in the larger context which includes the main case[]”).
        25
           Id.
                                                    11


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to develop the evidence necessary to prosecute his claim of civil rights violations

resulting in wrongful death. MICK is developing this evidence in anticipation that

Defendants, including NSP Trooper WILKIE, sued in his individual capacity, will

move for qualified immunity.

       Resolving whether MICK will be able to secure this information from NSP

necessarily impacts the manner in which MICK can defend against the anticipated

motion for qualified immunity, and in which MICK can try this case if qualified

immunity is denied. The time required to resolve this appeal on its merits can only

delay resolution of the underlying litigation. Thus, this appeal cannot be considered

apart from the course of the main litigation, a necessary prerequisite for application

of the collateral order doctrine.26

       3) Nor do discovery orders present sufficient importance to warrant interlocutory
          review

       As noted infra, this is not a petition for a writ of mandamus, which was the

procedural posture of Missouri DNR. Instead, NSP seeks to invalidate Missouri

DNR via interlocutory appeal from the District Court’s affirmance of its Magistrate

Judge’s ruling on a non-party’s discovery motion.




       26
           See MDK, Inc. v. Mike’s Train House, Inc., 27 F.3d 116, 121 (4th Cir. 1994) (rejecting
application of collateral order doctrine for interlocutory appeal filed by nonparty to challenge the
denial of its motion to quash).
                                                    12


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       The United States Supreme Court typically denies interlocutory review of

pretrial discovery orders.27 “Routine appeal from disputed discovery orders would

disrupt the orderly progress of the litigation, swamp the courts of appeals, and

substantially reduce the district court's ability to control the discovery process.”28

The Supreme Court has warned that “[p]ermitting the potential for piecemeal

appeals of all adverse discovery rulings would unduly delay the resolution of district

court litigation and needlessly burden the Courts of Appeals.”29

       For the collateral order doctrine to apply, the justification for immediate

appeal must be sufficiently strong to overcome the usual reasons to deferring appeal

until litigation concludes. “The decisive consideration is whether delaying review

until the entry of final judgment would imperil a substantial public interest or some

particular value of a high order.”30 NSP’s limited role in this case – as a nonparty

that complied with subpoenas earlier in this case without complaint – does not justify

its opportunistic attempt to attack this Court’s precedent by disrupting the actual

parties’ progression through discovery.

       27
            Firestone Tire & Rubber, Inc. v. Risjord, 449 U.S. 368, 377 (1981); see also 15B
Wright, Miller & Cooper, Fed. Prac. & Proc. § 3914.23, p. 123 (“[T]he rule remains settled that
most discovery rulings are not final”).
         28
            See Wright & Miller § 3914.23 at 123.
         29
            Cunningham v. Hamilton Cty., 527 U.S. 198, 209 (1999) (expressing concern that
allowing immediate appeal as of right from orders fining attorneys for discovery violations would
result in “the very sorts of piecemeal appeals and concomitant delays that the final judgment rule
was designed to prevent”).
         30
            Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 106 (2009).
                                                   13


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       We anticipate that NSP will claim it will be irreparably damaged if forced to

wait until final resolution of the underlying litigation before securing review of the

discovery order. Both this Court and the Supreme Court have made clear that

discovery orders like the one NSP seeks to challenge are not immediately appealable

under the collateral order doctrine, in part because litigants have immediate

alternatives available.31 For example, the collateral order doctrine does not apply to

orders denying attorney-client privilege32 and other “[p]retrial discovery orders” over

claims that the order would be effectively unreviewable on appeal.33

       In the “rare case” where an appeal after final judgment will not cure an

erroneous discovery order, a litigant has multiple other options. They can defy the

order, permit a contempt citation to be entered against them, and challenge the

order on direct appeal of the contempt ruling. Or, they can petition for a writ of

mandamus. Another option is that the litigant can “ask the district court to certify,

and the appellate court to accept, an interlocutory appeal.”34




       31
          See Collins as Next Friend of J.Y.C.C. v. Doe Run Res. Corp., 65 F.4th 370, 374, 376
  th
(8 Cir. 2023) (holding that defendants could not appeal challenged order prohibiting ex parte
communication under the collateral order doctrine and listing Supreme Court cases).
       32
          Mohawk Indus., 558 U.S. at 106. (rejecting application of collateral order doctrine to
discovery order overruling assertion of attorney-client privilege).
       33
          Collins, supra (listing cases).
       34
          Id. at 374-75 (citations omitted).
                                                   14


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      NSP did not avail itself of any of these options before seeking interlocutory

review. Instead, NSP moved directly to filing this appeal, to mount a nonparty’s

challenge to the validity of the Missouri DNR mandamus ruling. For a nonparty to

disrupt and delay the progression of the underlying litigation because it does not want

to appear at a deposition is a poor use of judicial resources, and this Court should not

approve it.

                                     Conclusion

      For the foregoing reasons, MICK asks this Court to SUSTAIN his Motion to

Dismiss, and remand this matter to the District Court for further proceedings

consistent with the March 13, 2024 Order of the District Court affirming the

Magistrate Judge’s denial of NSP’s motion to quash.



                                          BRYAN MICK, Appellee,


                                      By: /s/ Maren Lynn Chaloupka
                                         Maren Lynn Chaloupka – NSBA # 20864
                                         Chaloupka Law LLC
                                         1906 Broadway
                                         Post Office Box 1724
                                         Scottsbluff, NE 69363-1724
                                         (308) 270-5091
                                         mlc@chaloupkalaw.net

                                          Counsel for Appellee


                                              15


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                       CERTIFICATE OF COMPLIANCE

      This motion complies with: (1) the type-volume limitation of Federal Rule of

Appellate Procedure 27(d)(2) because it contains 3,347 words; and (2) the typeface

requirements of Rule 27(d)(1)(E) and Rule 32(a)(5) and the type-style requirements

of Rule 27(d)(1)(E) and Rule 32(a)(6) because it has been prepared in a

proportionally spaced typeface (14-point GoudyOlSt BT) using Microsoft Word (the

same program used to calculate the word count). Counsel further certifies that the

document has been scanned for viruses and is free of viruses.

                                                  /s/ Maren Lynn Chaloupka



                          CERTIFICATE OF SERVICE

      I hereby certify that on April 30, 2024, I electronically filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for the Eighth Circuit

using the CM/ECF system, which will send notification of such filing to all registered

counsel.

                                                  /s/ Maren Lynn Chaloupka




                                             16


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                APPENDIX




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  In the United States Court of Appeals
          for the Eighth Circuit
                                  BRYAN MICK,
                                       Plaintiff-Appellee,

                                        v.

                            BARRETT GIBBONS, ET AL.,
                                       Defendant-Appellees,

                            NEBRASKA STATE PATROL,
                                       Third-Party Appellant.


                On Appeal from the United States District Court
                         for the District of Nebraska
                      The Honorable John M. Gerrard


               AFFIDAVIT OF MAREN LYNN CHALOUPKA



      Maren Lynn Chaloupka, being first duly sworn on oath, testifies as follows:

                                        1.

      My name is Maren Lynn Chaloupka. I am counsel for Appellee Bryan Mick

in the above-referenced matter. The matters to which I am testifying are matters of




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                                                                    EXHIBIT A
                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

BRYAN S. MICK, Personal
Representative of the Estate of Print
Zutavern, Deceased,
                                                                  4:22-CV-3025
                      Plaintiff,

vs.                                                    MEMORANDUM AND ORDER

DEPUTY BARRETT GIBBONS, et
al.,

                      Defendants.


       This matter is before the Court on the Nebraska State Patrol's objection
(filing 133) to the Magistrate Judge's memorandum and order (filing 130)
denying the State Patrol's motion to quash (filing 125). The Court will overrule
the objection. A district court may reconsider a magistrate judge's ruling on
nondispositive pretrial matters only where it has been shown that the ruling
is clearly erroneous or contrary to law. See 28 U.S.C. § 636(b)(1)(A); Ferguson
v. United States, 484 F.3d 1068, 1076 (8th Cir. 2007). The Magistrate Judge's
ruling here was neither.1



1 The State Patrol cites authority for the proposition that denial of a motion to quash may be


dispositive in some circumstances, warranting de novo review. See filing 133 at 3-5 (citing,
e.g., Jones v. PGA TOUR, Inc., 668 F. Supp. 3d 907, 916 (N.D. Cal. 2023)). In determining
whether a ruling is dispositive, Fed. R. Civ. P. 72 permits the courts to reach common sense
decisions, and courts typically consider the impact on the merits of the case. See Strike 3
Holdings, LLC v. Doe, 330 F.R.D. 552, 554 (D. Minn. 2019). The Court isn't persuaded that
"common sense" supports treating the State Patrol like a true third party here, based mostly
on the legal fiction separating the "official" and "individual" capacities of the State Trooper




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       The Court, in fact, agrees fully with the Magistrate Judge's well-
reasoned decision. The State Patrol's argument for sovereign immunity from
civil discovery rests primarily on its repeated assertion that the Eighth
Circuit's crystal-clear holding to the contrary in In re Mo. Dep't of Nat. Res.,
105 F.3d 434, 436 (8th Cir. 1997) ("Missouri DNR"), is dicta. But dicta is "a
judicial comment made while delivering a judicial opinion . . . that is
unnecessary to the decision in the case and therefore not precedential." United
States v. Worthington, 89 F.4th 1058, 1063 (8th Cir. 2024). A judge's power to
bind is limited to the issue before the court, and assumptions and statements
of belief about other issues aren't holdings, no matter how confident the court
may sound. See Ark. State Conf. NAACP v. Ark. Bd. of Apportionment, 86 F.4th
1204, 1215-16 (8th Cir. 2023). In contrast, a court is bound by both the result
of a prior case and those portions of the opinion necessary to the result. See
Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 66-67 (1996).
       And Missouri DNR's holding isn't dicta just because it's broader than the
State Patrol would like. In that case, the Missouri Department of Natural
Resources had investigated the source of water pollution. 105 F.3d at 435.
Residents of the area then sued the suspected polluter, who served the
Missouri DNR with a subpoena duces tecum seeking documents related to the
investigation. Id. The Missouri DNR moved to quash the subpoena asserting,
among other things, its Eleventh Amendment immunity. Id. at 436. But the
Eighth Circuit rejected that argument, holding that "[g]overnmental units are
subject to the same discovery rules as other persons and entities having contact
with the federal courts. There is simply no authority for the position that the




who remains a defendant. But it doesn't matter, because the Court would reach the same
conclusion regardless of the standard of review.


                                            -2-
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Eleventh Amendment shields government entities from discovery in federal
court." Id. (citation omitted).
      That's not dicta: It's the plainly stated rule of law that the Court of
Appeals applied to conclude that the state defendant's motion to quash was
properly denied. See id. The State Patrol may disagree with that rule, but any
such argument needs to go to the Court of Appeals first. Hood v. United States,
342 F.3d 861, 864 (8th Cir. 2003). Nor do the Eighth Circuit's subsequent
decisions in Alltel Commc'ns, LLC v. DeJordy, 675 F.3d 1100, 1104 (8th Cir.
2012) or Webb v. City of Maplewood, 889 F.3d 483, 488 (8th Cir. 2018),
undermine Missouri DNR in any way. DeJordy is plainly distinguishable, for
the reasons explained by the Magistrate Judge. See filing 30 at 4. And Webb
stands for the unremarkable procedural proposition that a state party seeking
to assert immunity could raise it in a motion to quash—the Webb court said
nothing about the merits of any such motion, which hadn't even been filed yet
at that point in that case. 889 F.3d at 488. There is, in short, nothing in the
Eighth Circuit's caselaw which authorizes the Court to do anything other than
follow Missouri DNR. Accordingly,


      IT IS ORDERED that the State Patrol's objection (filing 133) is
      overruled.


      Dated this 13th day of March, 2024.


                                              BY THE COURT:



                                              John M. Gerrard
                                              Senior United States District Judge




                                        -3-
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                                                              EXHIBIT B
                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

BRYAN S. MICK, Personal
Representative of the Estate of Print
Zutavern, Deceased;                                         4:22CV3025

                   Plaintiff,
                                                  MEMORANDUM AND ORDER
       vs.

DEPUTY BARRETT GIBBONS, in his
individual and official capacities;
DEPUTY LAWRENCE STUMP, in his
individual and official capacities;
SHERIFF DAN OSMOND, in his
individual and official capacities;
COUNTY OF CUSTER, a Nebraska
political subdivision; TRP. BRANDON
WILKE, in his individual capacity; and
JOHN/JANE DOE, training supervisor of
the Nebraska State Patrol, in his/her
individual and official capacities;

                   Defendants.


      This matter is before the Court on non-party Nebraska State Patrol’s (“NSP”)
motion to quash. Filing. No. 125. For the reasons stated herein, the motion will be
denied.
                                   BACKGROUND


      On December 28, 2023, Plaintiff filed a Notice of 30(b)(6) Videoconferencing
Deposition on an unspecified “Defendant.” The notice instructed the unspecified
“Defendant” to produce for testimony:


      each officer, director, agent and/or other person most knowledgeable in
      training (including continuing education after completion of the NSP Training

                                           1


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      Academy) for NSP law enforcement officers (to include Defendant Brandon
      Wilkie) effective as of February 2, 2023, in the following topics:
      a. Responding to persons experiencing a mental health crisis;
      b. Response to and resolution of events involving barricaded
         subjects/suspects;
      c. Use of force (non-lethal and lethal);
      d. Police service dogs and dog handling, including in tactical events;
      e. Special Weapons and Tactics and/or SWAT; and
      f. Video recording devices (body-worn, dashboard, robot).


Filing No. 110.
      On January 4, 2024, NSP provided Plaintiff’s counsel a written objection to
the notice of deposition. Filing No. 117. The parties conferred and, soon thereafter,
requested a teleconference with the Court, which occurred on January 19. During
the teleconference, Plaintiff’s counsel informed the Court of her intention to serve
a subpoena on NSP (as opposed to a deposition notice) to include the same or
similar topics. She sent NSP the subpoena on January 24 and, days later, NSP
notified counsel of its objections.
      During the January 19 teleconference, the Court advised the parties that,
should NSP assert the same objections to the third-party subpoena as it did the
deposition notice, it could proceed directly to motion practice. Accordingly, on
January 30, NSP filed a motion to quash. NSP asserts the same argument in
response to Plaintiff’s subpoena as it did to the Rule 30(b)(6) deposition notice—
namely, sovereign immunity.


                                      ANALYSIS


      As an instrumentality of the State, NSP argues sovereign immunity shields
it from third-party discovery requests like the subpoena at issue here. Filing No.
127. In making this argument, NSP relies on the Eighth Circuit Court of Appeals’
decision in Alltel Comms, LLC v. DeJordy, 675 F.3d 1100 (8th Cir. 2012). In

                                         2


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DeJordy the Eighth Circuit quashed a subpoena holding that the discovery was
subject to Indian tribal immunity. Id. at 1105.
        But as NSP acknowledges, the Eighth Circuit has expressly permitted third-
party discovery requests on state entities, which is the issue present here. See
Filing No. 127, p. 4 citing Missouri Dep’t of Nat. Res., 105 F.3d 434 (8th Cir. 1997)
(“Missouri DNR”). Nonetheless, NSP argues the issue now before the Court is
more akin to that presented in DeJordy than that presented in Missouri DNR. In
the alternative, NSP argues that, should this Court conclude Missouri DNR is
controlling upon this issue, the Eighth Circuit should overrule such finding. 1
        The Eleventh Amendment states: “[t]he judicial power of the United States
shall not be construed to extend to any suit in law or equity, commenced or
prosecuted against one of the United States by Citizens of another State, or by
Citizens or Subjects of any Foreign State.” U.S. Const. amend XI. Generally, in the
absence of consent, a suit against the State or one of its agencies is prohibited by
the Eleventh Amendment. Egerdahl v. Hibbing Cmty. Coll., 72 F.3d 615, 618-19
(8th Cir. 1995). Here, NSP contends that a third-party subpoena qualifies as a “suit”,
and thus, sovereign immunity affords it protection. Filing No. 127.
        As noted above, the Eighth Circuit has already considered an argument like
NSP’s in Missouri DNR. There, the district court denied a state agency’s motion to
quash subpoenas duces tecum served on it by litigants in a case in which the state
agency was not a party. In re Missouri Dep’t of Nat. Res., 105 F.3d at 435. The
agency then proceeded to seek a writ of mandamus directing the district court to
vacate its order arguing, in part, that the subpoenas infringed upon Missouri’s
sovereign immunity. Id. at 435-36. The Eighth Circuit denied that request,
concluding “[g]overnmental units are subject to the same discovery rules as other


1
 In a footnote, NSP “acknowledges that this Court cannot overrule or disregard controlling Eighth Circuit
precedent” and advises that it “presents this argument to clearly preserve the issue.” NSP is correct. This
Court cannot ignore Eighth Circuit precedent and, as such, this order will focus upon whether the matter
at hand is governed by DeJordy or Missouri DNR rather than this Court’s prediction of what the Eighth
Circuit will do or should do if presented with the issue before the Court.

                                                     3


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persons and entities having contact with the federal courts.” Id. at 436 (citing
United States v. Procter & Gamble, 356 U.S. 677, 681 (1958)). The Court went as
far as to say “[t]here is simply no authority for the position that the Eleventh
Amendment shields government entities from discovery in federal court.” Id.
Missouri DNR, at the time of this order, remains good law in the Eighth Circuit and
is binding in this case.
      To avoid Missouri DNR’s holding, NSP argues this court should apply the
conclusion set forth in DeJordy. But these two cases are easily distinguishable. In
DeJordy, the Ogalala Sioux Tribe moved to quash third-party subpoenas based on
tribal immunity. DeJordy, 675 F.3d at 1102. The district court denied the motion to
quash, relying on Missouri DNR. Id. at 1104. The Eighth Circuit reversed, holding
that “[a]lthough Eleventh Amendment precedents are instructive, tribal immunity,
‘is not congruent with that which the Federal Government, or the States, enjoy.’”
Id. at 1104 (quoting Three Affiliated Tribes of Fort Berthold Reservation v. Wold
Eng’g, 476 U.S. 877, 890 (1986)). The Eighth Circuit declined to speculate whether
sovereign immunity provides protection against “disruptive third-party subpoenas
that would clearly be barred in a State’s own courts.” DeJordy, 675 F.3d at 1104-
05.
      This Court does not conclude, as NSP urges, that DeJordy overrules or
questions the holding in Missouri DNR. See also McGehee v. Nebraska Dep't of
Corr. Servs., No. 4:18CV3092, 2019 WL 1227928 (D. Neb. Mar. 15, 2019), aff'd,
968 F.3d 899 (8th Cir. 2020), reh'g granted and opinion vacated (Oct. 5, 2020), on
reh'g, 987 F.3d 785 (8th Cir. 2021), and vacated and remanded, 987 F.3d 785 (8th
Cir. 2021). Rather, the Eighth Circuit reached two different conclusions based on
two incongruent immunities.
      As a final matter, the State argues that sovereign immunity applies if a
subpoena compels a state agency to “act in a manner different from that in which
the agency would ordinarily choose to exercise its public function,” or threatens the
state’s autonomy. Filing No. 127 at p. 6 citing DeJordy, 675 F.3d at 1103. Applying

                                         4


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this reasoning here, the State contends that Plaintiff’s subpoena, if enforced, would
disrupt its autonomy by forcing it to do something it otherwise would not do—
namely, prepare and produce witnesses for testimony. 2
        The Court disagrees. A subpoena, by its very nature, compels a party to do
something it would not otherwise do. Thus, if that were the standard, the outcome
in Missouri DNR would be different. But Missouri DNR’s holding is clear: “[t]here is
simply no authority for the position that the Eleventh Amendment s hields
government entities from discovery in federal court.” 105 F.3d at 436.
        For the reasons explained above, the holding in Missouri DNR controls and
the motion is denied.


                                          CONCLUSION


        For the reasons set forth herein, NSP’s motion to quash, Filing No. 125, is
denied. NSP shall comply with the deposition subpoena served upon it on January
23, 2024 and located at Filing No. 126-1.


        IT IS SO ORDERED.

        Dated this 6th day of February, 2024.

                                                        BY THE COURT:

                                                        s/ Jacqueline M. DeLuca
                                                        United States Magistrate Judge




2
 To the extent NSP argues compliance would be an undue burden under the Federal Rules of Civil
Procedure, the Court finds the information sought to be relevant, reasonably narrowed in scope, and
cannot be obtained from some other source. See Fed . R. Civ. P. 26 and 45.

                                                   5


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 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                             UNITED STATES DISTRICT COURT                                                      EXHIBIT C
                                                                                       for the
                                                                   DistrictDistrict
                                                              __________    of Nebraska
                                                                                    of __________
 BRYAN S. MICK, Personal Representative of the Estate of PRINT ZUTAVERN, Deceased
                                                                                          )
                                   Plaintiff                                              )
                                       v.                                                 )       Civil Action No. 4:22-cv-3025
                                                                                          )
             DEPUTY BARRETT GIBBONS, et al.                                               )
                                  Defendant                                               )

                           SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                             OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                                    Nebraska State Patrol
 To:                                                                                4600 Innovation Drive
                                                                                     Lincoln, NE 68521
                                                              (Name of person to whom this subpoena is directed)

     ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material: For the period of January 1, 2006 – January 1, 2009, all records relating to Lawrence Stump, d/o/b
          believed to be           . This includes but is not limited to records of investigation of complaints
          against and/or allegations of criminal conduct by Lawrence Stump.

  Place: Chaloupka Law LLC                                                                         Date and Time:
            PO Box 1724
                                                                                                                    01/21/2024 5:00 pm
            Scottsbluff, NE 69363-1724

      ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                          Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:         12/22/2023

                                       CLERK OF COURT
                                                                                                      OR
                                                                                                                     /s/ Maren Lynn Chaloupka
                                                Signature of Clerk or Deputy Clerk                                       Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Bryan Mick,
Personal Representative of the Estate of Print Zutavern, Deceased        , who issues or requests this subpoena, are:
 Maren Lynn Chaloupka, Chaloupka Law LLC, PO Box 1724, Scottsbluff, NE 69363-1724; mlc@chaloupkalaw.net; (308) 270-5091

                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                                      NEBRASKA STATE PATROL
                                                    Offense/Investigative Data Report

Case Status: Finaled on 12/07/2007                                                                           * Fields in green bold are required.

  Troop             Year         IR Number             Case Type                     Division           Missing Person          County
  Area
    D               2007           11287            Case Investigation                Criminal                                 CUSTER


   Reported By                     Requested By                             Occurred                                   Reported
                                                                    Date                    Time                Date                Time
        OTHER                          OTHER                                                                 04/22/2007             0608


                                                             Offense Occurred Between
             Start Date                             Start Time                       End Date                              End Time
             07/01/2006                               0800                          04/22/2007                               0700



OFFENSE INFORMATION
 # Offense          Offense Description                                    State Statute           Offender Crime Criminal Att/ Hate/ Location
    Code                                                                                            Used Class Act Cd Cmp Bias         Code
 1  1333 DOMESTIC ASSAULT - STRONG ARM                                          *                     N       M      *      C    *      20
 2  3802 CRUELTY TOWARD CHILD                                                28-707                   N       M      *      C    *      20


 Reports              Related Cases             # of Premises        Burglary                            Weapon Code                        Auto/
to Follow                                       Entered during      Entry Type                                                              Semi
                                                   Burglary
    Y                                                                                                        NONE


Location of Incident: (choose one of the location descriptions below, either fill in the blank or literal)
¡ Fill in the blank ¤ Literal
Literal:                 Broken Bow, NE &                    Callaway, NE


STOLEN/RECOVERED VEHICLE INFORMATION
   # of Stolen  Total Value of   # of Recovered                  Total Value of            Total Value of Damage to
   Vehicle(s)  Stolen Vehicle(s)    Vehicle(s)                Recovered Vehicle(s)          Recovered Vehicle(s)



PROPERTY/DRUG SEIZURE INFORMATION
 Loss # of                  Description                                                       Make               Model              Color
Code Items



         Serial            Property     Value of Seized/  Date Recovered       NCIC/       Drug  Drug         Drug        Value of Drugs
        Number              Code       Stolen/Recovered                        NCIS        Code Quantity      UOM        Purchased/Seized
                                       Property-Currency-
                                      Drugs-Paraphernalia



     Drug               Lab                 Lab
     Fund             Analysis             Weight
     Type



PERSONS/ORGANIZATIONS/VEHICLES MENTIONED

            Offende
            r
                       #1 - Stump; Lawrence; D (Offender: Finaled) -
            Other
                       #1 - Mowrey; Kimberly; A (Subject Mentioned: n/a)




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                     #1 - Nebraska Health & Human Services; Craft State Office Bldg (Reporting Party: n/a)
                     #2 - Mowrey; Kamron; * (Subject Mentioned: n/a)
                     #3 - Mowrey; Brianna; * (Subject Mentioned: n/a)
            Victim
                     #1 - Stump; Heather; J (Victim: n/a) -
                     #2 - Stump;             (Victim: n/a) -
                     #3 - Stump;          (Victim: n/a) -
                     #4 - Stump;             (Victim: n/a) -



VENUE: Nebraska State Patrol Officer Clinton Elwood investigated the criminal offense of DOMESTIC ASSAULT - STRONG ARM which
occurred between 07/01/2006 at 0800 and 04/22/2007 at 0700 at the location of                Broken Bow, NE &
Callaway, NE, in CUSTER county.

NARRATIVE:
On April 22, 2007 at 0608 hours Nebraska Health and Human Services received a report of alleged child abuse and domestic assault. The
suspect is LAWRENCE D. STUMP (                ) the victims are his biological children (      ,      , and            STUMP) and his
ex-wife HEATHER J. STUMP (              ). The domestic assault is suspected to of occurred in Broken Bow in July 2006. The Child Abuse
allegation is suspected to have occurred in Broken Bow and Callaway both are located in Custer County. Case is under investigation.


CASE REVIEW INFORMATION
     Case Review Supervisor                Case Review                                        Comments
                                              Date




CALL BACK INFORMATION
      Call Back Completed By              Call Back Date                                      Comments




CASE DISSEMINATION INFORMATION
         Disseminated By                                    Agency                     Date                    Comments




CASE SECURITY
                             EDIT RIGHTS                                                         READ RIGHTS

  Officer:   Clinton Elwood/NSP                                          Lieutenant: NSP.Lieutenants
 Supervisor: Brian Edins/NSP                                              Captain:      NSP.Captains
  NIBRS: NSP.712.NIBRS                                                     Majors:      NSP.Majors
   ICAD:     NSP.712.ICAD                                                 Colonels:     NSP.Colonels
 Evidence: [NSP.Evid.Off]                                                  Others:
  Others:                                                               Administrative: NSP.Admin
                                                                                        NSP.712.Reader
    Level      [Level 4]                                                   Special:     Clinton Elwood/NSP
                                                                                        Brian Edins/NSP
                                                                                        NSP.712.NIBRS
                                                                                        NSP.712.ICAD
                                                                                        [NSP.Evid.Off]
                                                                                        [Level 4]

SUMMARY
 Case Notes Key:           CELD-72YPLV
 cfId                      D200711287

CASE STATUS
   Case Status        Change Date             Changer                         Action                         Comment
Active               05/07/2007   Clinton Elwood/NSP                     Created          *
Finaled              12/07/2007   Clinton Elwood/NSP                     Ex. Cl. (B)      CELD-733KHG

WORK STATUS




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         Work Status    Change Date                 Changer                  Action                        Comment
     Officer           05/07/2007       Clinton Elwood/NSP               Created        Submit
     Supervisor        05/10/2007       Clinton Elwood/NSP               Submitted      Approve
     NIBRS             05/21/2007       Brian Edins/NSP                  Approved       Update 712
     ICAD              06/18/2007       Nancy Vandenberg/NSP             Updated 712    Update MNI
     Officer           07/19/2007       Sheri King/NSP                   Updated MNI    Work with case
     ICAD              12/07/2007       Clinton Elwood/NSP               Submitted      Update MNI


HISTORY
5/7/2007 1:25:20 PM--> Created the case by CN=Clinton Elwood/O=NSP
5/7/2007 1:56:08 PM--> Case saved by Clinton Elwood
5/7/2007 2:05:06 PM--> Case saved by Clinton Elwood
5/7/2007 2:05:16 PM--> Case saved by Clinton Elwood
5/10/2007 9:54:55 AM--> Case saved by Clinton Elwood
5/10/2007 10:00:36 AM--> Case saved by Clinton Elwood
5/10/2007 10:00:44 AM--> Case saved by Clinton Elwood
5/10/2007 10:02:05 AM --> Clinton Elwood added Stump; Lawrence; D (Offender: Suspected) - CELD-733KHG
5/10/2007 10:02:33 AM--> Case saved by Clinton Elwood
5/10/2007 10:17:21 AM--> Case saved by Clinton Elwood
5/10/2007 10:17:26 AM --> Clinton Elwood added Stump; Heather; J (Victim: n/a) - CELD-733KN9
5/10/2007 10:17:36 AM--> Case saved by Clinton Elwood
5/10/2007 10:20:19 AM--> Case saved by Clinton Elwood
5/10/2007 10:20:25 AM --> Clinton Elwood added Stump;             (Victim: n/a) - CELD-733KXL
5/10/2007 10:20:37 AM--> Case saved by Clinton Elwood
5/10/2007 10:22:53 AM--> Case saved by Clinton Elwood
5/10/2007 10:22:59 AM --> Clinton Elwood added Stump;         (Victim: n/a) - CELD-733KZJ
5/10/2007 10:23:10 AM--> Case saved by Clinton Elwood
5/10/2007 10:25:27 AM--> Case saved by Clinton Elwood
5/10/2007 10:25:30 AM --> Clinton Elwood added Stump;            (Victim: n/a) - CELD-733L34
5/10/2007 10:25:51 AM--> Case saved by Clinton Elwood
5/10/2007 10:29:11 AM--> Case saved by Clinton Elwood
5/10/2007 10:29:16 AM --> Clinton Elwood added Mowrey; Kimberly; A (Other: n/a) - CELD-733L4R
5/10/2007 10:29:36 AM--> Case saved by Clinton Elwood
5/10/2007 10:29:59 AM--> Case saved by Clinton Elwood
5/10/2007 10:30:30 AM--> Case saved by Clinton Elwood
5/10/2007 10:32:20 AM--> Case saved by Clinton Elwood
5/10/2007 10:32:24 AM --> Clinton Elwood added Nebraska Health & Human Services; Craft State Office Bldg (Other: n/a) - CELD-733L7P
5/10/2007 10:32:41 AM--> Case saved by Clinton Elwood
5/10/2007 10:34:16 AM--> Case saved by Clinton Elwood
5/10/2007 10:34:20 AM --> Clinton Elwood added Mowrey; Kamron; * (Other: n/a) - CELD-733L92
5/10/2007 10:34:32 AM--> Case saved by Clinton Elwood
5/10/2007 10:35:36 AM--> Case saved by Clinton Elwood
5/10/2007 10:35:43 AM --> Clinton Elwood added Mowrey; Brianna; * (Other: n/a) - CELD-733LA7
5/10/2007 10:35:52 AM--> Case saved by Clinton Elwood
5/10/2007 10:36:07 AM--> Case saved by Clinton Elwood
5/10/2007 10:36:15 AM--> Case saved by Clinton Elwood
5/21/2007 9:22:56 AM--> Case saved by Brian Edins
5/21/2007 9:23:00 AM--> Case saved by Brian Edins
5/21/2007 9:23:12 AM--> Case saved by Brian Edins
6/18/2007 2:51:27 PM--> Case saved by Nancy Vandenberg
6/18/2007 2:51:27 PM--> Case saved by Nancy Vandenberg
12/7/2007 4:17:31 PM--> Case saved by Clinton Elwood
12/7/2007 4:18:11 PM--> Case saved by Clinton Elwood
12/7/2007 4:18:34 PM--> Case saved by Clinton Elwood
12/7/2007 4:18:55 PM--> Case saved by Clinton Elwood
12/7/2007 4:19:03 PM--> Case saved by Clinton Elwood
12/7/2007 4:19:06 PM--> Case saved by Clinton Elwood
5/7/2007 2:05:41 PM: Clinton Elwood Change History
Clinton Elwood | ofCode | | 1333/3802
5/10/2007 10:36:21 AM: Clinton Elwood Change History
5/21/2007 9:23:18 AM: Brian Edins Change History
6/18/2007 2:51:28 PM: Nancy Vandenberg Change History
12/7/2007 4:19:07 PM: Clinton Elwood Change History




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